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                     IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 IN RE ACF BASIN WATER                            CIVIL ACTION FILE
 LITIGATION                                       NO. 1:18-MI-43-TWT




                               OPINION AND ORDER

       This action is before the Court on the Plaintiff State of Alabama’s Motion

for Summary Judgment and Amended Motion for Summary Judgment [Doc.

164, 220], the Plaintiff National Wildlife Federation, Florida Wildlife

Federation, and Apalachicola Bay and River Keeper’s Motion for Summary

Judgment and Amended Motion for Summary Judgment [Doc. 165, 219], the

Defendant U.S. Army Corps of Engineers’ Cross-Motions for Summary

Judgment [Doc. 202, 203], the Defendant State of Georgia’s Cross-Motions

for Summary Judgment [Doc. 211, 213], and the Defendant Georgia Water

Supply Providers’ Cross-Motions for Summary Judgment [Doc. 216, 218].

For the reasons set forth below, the Court DENIES the Plaintiff State of

Alabama’s Motion for Summary Judgment and Amended Motion for

Summary Judgment [Doc. 164, 220], DENIES the Plaintiff National

Wildlife Federation, Florida Wildlife Federation, and Apalachicola Bay

and River Keeper’s Motion for Summary Judgment and Amended Motion

for Summary Judgment [Doc. 165, 219], GRANTS the Defendant U.S. Army

Corps of Engineers’ Cross-Motions




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for Summary Judgment [Doc. 202, 203], GRANTS the Defendant State

of Georgia’s Cross-Motions for Summary Judgment [Doc. 211, 213] and

GRANTS the Defendant Georgia Water Supply Providers’ Cross-Motions for

Summary Judgment [Doc. 216, 218].

                                  I.     Background

       On April 5, 2017, the State of Alabama filed its Complaint against

Defendants U.S. Army Corps of Engineers; Robert M. Speer in his official

capacity as Acting Secretary of the U.S. Army; Douglas Lamont in his official

capacity as senior official exercising the functions of the Assistant Secretary of

the U.S. Army for Civil Works; Todd T. Semonite in his official capacity as

Commander and Chief of Engineers for the U.S. Army Corps of Engineers; C.

David Turner in his official capacity as Division Commander for the South

Atlantic Army Corps of Engineers; and James A. DeLapp in his official capacity

as the District Commander for Mobile District of U.S. Army Corps of

Engineers. Ala. Compl. Alabama brings this action under the Administrative

Procedure Act, 5 U.S.C. §§ 701 et seq. , the Water Supply Act of 1958, 43 U.S.C.

§§ 390b et seq., and the National Environmental Policy Act of 1969, 42 U.S.C.

§§ 4321-4347, to set aside the U.S. Army Corps of Engineers’ adoption in 2017

of the Final Environmental Impact Statement (“Final EIS”) for the

Apalachicola-Chattahoochee-Flint (“ACF”) River Basin Water Control Manual

and Water Supply Storage Assessment. Id.




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         Similarly, on April 27, 2017, the National Wildlife Federation, the

Florida Wildlife Federation and Apalachicola Bay and River Keeper, Inc. filed

their Complaint against Defendants U.S. Army Corps of Engineers; Douglas

Lamont in his official capacity as senior official exercising the functions of the

Assistant Secretary of U.S. Army for Civil Works; Todd T. Semonite in his

official capacity as Commander and Chief of Engineers for U.S. Army Corps of

Engineers; and C. David Turner in his official capacity as Division Commander

for South Atlantic Army Corps of Engineers. NWF Compl. The Plaintiffs bring

this action under the Administrative Procedure Act, 5 U.S.C. §§ 701 et seq.,

the Water Resources Development Act of 2007, 33 U.S.C. § 2283(d), the

National Environmental Policy Act of 1969, 42 U.S.C. §§ 4321-4347, and the

Fish and Wildlife Coordination Act, 16 U.S.C. §§ 661-667e to set aside the

Corps’ Updated ACF River Basin Water Control Manual. The State of Georgia,

Atlanta Regional Commission, City of Atlanta, Cobb County-Marietta Water

Authority, DeKalb County, Forsyth County, Fulton County, City of

Gainesville, and Gwinnett County have intervened as Defendants in both

cases.

         These actions arise from the U.S. Army Corps’ operations of five

reservoirs within the ACF River Basin, formed by the Apalachicola,

Chattahoochee, and Flint rivers, their tributaries, and their drainage areas.

Ala. Compl., at ¶ 11. The Chattahoochee River forms a large portion of the

eastern border between Alabama and Georgia. Id. at ¶ 12. The Chattahoochee


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River starts in northeast Georgia, and flows southwest toward Alabama, where

it flows south before emptying into Lake Seminole at the Florida-Georgia line.

Id.

        The Corps operates five reservoirs on the Chattahoochee River. The

uppermost and largest of the reservoirs is Buford Dam, which impounds the

Chattahoochee River to create Lake Lanier approximately fifty miles north of

Atlanta. Below Lake Lanier, the Corps operates three dams along the

Chattahoochee River on the Alabama border, including West Point Dam

(associated with West Point Lake), Walter F. George Lock and Dam (associated

with Walter F. George Lake), and George Andrews Lock and Dam (associated

with Lake George W. Andrews). Ala. Compl., at ¶ 13. Approximately 2,800

square miles of the ACF River Basin lie within Alabama’s borders. Id. at ¶ 14.

The Corps’ southernmost project within the ACF River Basin is the Jim

Woodruff Lock and Dam which impounds Lake Seminole on the Florida-

Georgia line. Final Environmental Impact Statement (“Final EIS”), 1-1 to 1-2.

Water released from the Woodruff Dam forms the Apalachicola River in

Florida. Id.

        The U.S. Army Corps operates the ACF projects pursuant to “specific”

and “general” authorities established by Congress. Final EIS, 2-59 to 2-60.

Specific authorities are established in the original legislation authorizing

construction of a certain project. Final EIS, ES-1, 2-59 to 2-60. The authorizing

statutes usually refer to and incorporate “reports” that the Corps presents to


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Congress as part of the authorization process to provide recommendations

regarding the benefits of the projects. For the ACF reservoirs, specific

authorities include navigation, hydropower, flood control, water supply, and

fish and wildlife conservation. Final EIS, ES-1, 2-59 to 2-60. General

authorities supplement these specific authorities and apply to all federal

agencies or Corps reservoirs, including the Endangered Species Act and the

Fish and Wildlife Coordination Act.

       Because authorized purposes often conflict, the Corps is required to

develop a Master Manual to describe how it will operate the system to balance

conflicting purposes. 33 U.S.C. § 709; Final EIS, ES-1 to ES-2. The Master

Manual governs the operation of the five Corps reservoirs on the

Chattahoochee River in the ACF Basin. Ala. Compl., ¶ 18. The Corps’ last

official Master Manual for the ACF system was adopted in 1958. Id. at ¶ 19.

While the Corps was conducting its ACF operations under the 1958 Manual,

Congress passed, and the President signed, the National Environmental Policy

Act, 42 U.S.C. §§ 4321 et seq., (“NEPA”). Id. at ¶ 20. The National

Environmental Policy Act requires the Corps to issue an Environmental

Impact Statement (“EIS”) concerning any significant changes to its ACF

operations. Id.

       The Buford Project is at the center of this litigation. The Buford Project

consists of the reservoir Lake Lanier north of Atlanta formed by Buford Dam.

Congress gave the U.S. Army Corps authority to build and operate the Buford


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Project in two statutes: the Rivers and Harbors Act of 1945 and the Rivers and

Harbors Act of 1946. Ala. Amend. Motion for Summary Judgment, at 6. In

1939, the Corps submitted a report to Congress recommending development of

the ACF Basin for multiple purposes, including navigation, hydroelectric

power, national defense, commercial value of riparian lands, recreation, and

industrial and municipal water supply. U.S. Army Corps’ Cross-Motion for

Summary Judgment, at 4. Congress approved the Corps’ plan in the Rivers

and Harbors Act of 1945. Id.

       In 1946, the Corps recommended in another report submitted to

Congress, known as the Newman Report, several changes to the original plan,

including reducing the proposed number of locks, dams, and reservoirs from

twelve to four and moving one of the proposed hydropower generating dams

and reservoirs further upstream from Atlanta to its eventual location in

Buford, Georgia. Id. The explanation for doing so included “water supply”

downstream, as well as to include sufficient storage in the reservoir for

extensive flood control for the basin, which would free up storage in

downstream projects for other uses. Id. If hydropower releases of water did not

meet Atlanta’s water-supply demands, the Newman Report recommended that

the Corps make continuous releases from the Buford Project during “off-peak

periods” to secure a flow of 650 cubic feet per second to Atlanta. Ala. Amend.

Motion for Summary Judgment, at 8. The report mentioned that the releases

“may have to be increased somewhat as the area develops” but stated that they


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“would not materially reduce the power returns.” Id. In the Rivers and Harbors

Act of 1946, Congress authorized the Corps to build and operate the Buford

Project “in accordance with the report of the Chief of Engineers, dated May 13,

1946.” Id. The Chief’s Report recommended the “plans of division engineer” set

forth in the Newman Report “with such changes therein as in the discretion of

the Secretary of War and the Chief of Engineers may be advisable.” Id.

       Behind Buford Dam is Lake Lanier, which covers about 38,000 acres

and has 692 miles of shoreline. U.S. Army Corps’ Cross-Motion for Summary

Judgment, at 9. The Corps divides Lake Lanier into three “pools.” Id. The top

one is the “flood control pool” that generally remains empty, so it can take on

water when inflows are too high. Id. The bottom one is the “inactive storage

pool” and stays full. Id. The middle one is the “conservation storage pool” and

is most pertinent to this litigation. Id. The Corps fulfills the hydropower and

navigation purposes authorized by the Rivers and Harbors Acts of 1945 and

1946 by releasing water from the “conservation storage pool” to flow to

downstream locations in Alabama and elsewhere. Ala. Amend. Motion for

Summary Judgment, at 10. To produce hydropower, the Corps releases water

though two large turbines and a third smaller one. Id. These water releases

generate electricity at Buford Dam and allow the Corps’ downstream facilities

at West Point and W.F. George to use the flows to generate electricity on their

own. Id. To fulfill the navigation purposes, the Corps sends water through

Buford Dam, which “provide[s] navigable depths” downstream and allows


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vessels to travel at certain locations in the Chattahoochee and Apalachicola.

Id.

         To fulfill the water-supply purpose, the Corps releases water from the

“conservation storage pool.” Id. When the Corps makes releases for hydropower

generation and downstream withdrawals during times of peak demand,

typically weekdays, the hydropower generated is most valuable. Id. at 11. To

meet Atlanta’s water supply needs, the Corps also makes releases during off-

peak hours, typically weekends, when the hydropower generated is less

valuable. Id. Alabama argues that the reports underlying the Rivers and

Harbors Acts did not envision that Georgia entities would make withdrawals

directly from Lake Lanier (“direct withdrawals”) but envisioned that the Corps

would make releases from Lake Lanier for the purpose of downstream

withdrawals, which are withdrawals that Georgia entities make from non-

Corps’ facilities located at various points along the Chattahoochee. Id.

Alabama maintains that any direct withdrawals from Lake Lanier serve only

the single purpose of water supply because the Corps retains water in the

reservoir, rather than releasing it through the dam turbines and on to locations

downstream. Id. at 11-12.

        As mentioned, federal law requires that the Corps issue manuals

governing operations of its projects. See 33 U.S.C. § 709. The 1958 Reservoir

Regulation Manual for the Buford Project and the 1959 Buford Manual

provided for hydropower and navigation which “generally yielded sufficient


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downstream flows to meet Atlanta’s water supply needs” through withdrawals

from the Chattahoochee. Ala. Amend. Motion for Summary Judgment, at 15.

The 1959 Manual provided that the Buford Project generally would be operated

to produce hydropower during periods of peak demand, with sufficient releases

during off-peak hours to provide Atlanta with a minimum flow of 600 cubic feet

per second. Id. at 14. In 1960, the Corps committed to ensuring minimum flows

at Atlanta of 650 cubic feet per second. U.S. Army Corps’ Cross-Motion for

Summary Judgment, at 11. In 1973, in response to Atlanta’s growing area and

expected need for larger municipal and industrial water supply, the Senate

Public Works Committee commissioned the Metropolitan Atlanta Area Water

Resources Management Study. Id. at 12. During that time, the Corps entered

interim water-supply contracts with local water-supply providers. Id.

        In 1982, the Study’s final report recommended meeting Atlanta’s needs

through a new “reregulation” dam below Buford Dam that could capture the

varying hydropower releases and rerelease the water at a steadier rate. Id. In

1986, Congress authorized construction of the reregulation dam but did not

appropriate any funds to build it. Id. In 1986, the Corps entered a temporary

water-supply contract with the Atlanta Regional Commission, which provided

the Atlanta Regional Commission with releases sufficient to allow greater

downstream withdrawals “with no impact” on the project. Id. Interim water-

supply agreements for direct withdrawals were also reached with the City of

Gainesville, City of Cumming, and Gwinnett County. Id.


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       By 1989, the Corps decided to reallocate storage in the Buford Project

permanently rather than build the reregulation dam. Id. at 13. The Corps

prepared a draft Post Authorization Change (“PAC”) report which would

amend the Master Manual. Id. The draft PAC report recommended allocating

207,000 acre-feet of conservation storage in the Buford Project to water supply,

which would allow roughly 151 million gallons per day to be withdrawn directly

from Lake Lanier and 378 million gallons per day from the river downstream.

Id. The draft PAC report also included a draft updated Master Manual to

govern operations in the ACF Basin. Id. The Corps maintained that the

reallocation of storage to water supply recommended in the draft PAC report

was made under the authority of the Water Supply Act of 1958, 43 U.S.C. §

390b. Id. at 14. The draft PAC report referenced the Water Supply Act but did

not determine whether Congress would need to authorize the proposed

reallocation to water supply. Id.

       When the Corps issued the draft PAC report, Alabama immediately filed

suit to prevent the Corps from carrying out the draft PAC report’s

recommendations. After Florida and Georgia intervened, the parties agreed to

a stay of the litigation, in which the Corps agreed it would not execute any

contracts for water storage under the Water Supply Act without the written

permission of Alabama and Florida as long as the stay remained in effect. Id.

at 14. In 1992, a Memorandum of Agreement was signed by the Corps, Georgia,

and Alabama that set up a “Comprehensive Study” of the water issues in the


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ACF Basin. Id. at 14-15. In the Agreement, the Corps agreed to withdraw the

draft PAC report to facilitate negotiations among the States. Id. at 15. Thus,

the parties agreed that “during the term of the Comprehensive Study, it is

premature for the Army to commit, grant or approve any reallocation,

allocation or apportionment of water resources to service long-term future

water supply.” Id. The Agreement allowed parties to continue withdrawing

water for water supply and to make reasonable increases in those withdrawals

but specified that it “shall [not] be construed as changing the status quo as to

the Army’s authorization of water withdrawals.” Id. The parties referred to

that provision as the “live-and-let-live” agreement. Id.

       In 1997, the 1992 Memorandum of Agreement was replaced by the ACF

Compact, which set up a framework for negotiating an equitable allocation of

water among the three states signed by the same parties and passed into law

by Congress. Id. The ACF Compact contained a live-and-let-live provision

allowing for the continued withdrawal of water, with reasonable increases. Id.

The ACF Compact remained in place until August 31, 2003. Id. The Alabama

case remained stayed throughout that period. Id. The interim water-supply

contracts between the Corps and the Georgia Parties expired in 1990, but

under the live-and-let-live agreement the Corps provided for continued water-

supply withdrawals without any formal contractual relationship with the

Georgia Parties. Id. at 16.




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       In 2000, the State of Georgia asked the Corps to modify its operation of

the Buford Project to meet projected water-supply needs until the year 2030,

including withdrawal of 408 million gallons per day from the river and 297

million gallons per day directly from Lake Lanier. Id. The Corps determined

that meeting Georgia’s request would require it to reallocate 370,930 acre-feet

of conservation storage in the Buford Project to water supply. Id. At that time,

the Corps rejected Georgia’s request, because it concluded that it did not have

sufficient authority under the 1946 Rivers and Harbors Act and the Water

Supply Act to make such a large reallocation of storage without congressional

approval. Id. Georgia sued challenging that denial.

       In another suit regarding the Buford Project’s water storage, the

Southeastern Federal Power Customers, a group which buys power generated

at Buford Dam, sued claiming that water-supply withdrawals and the

increased shift to non-peak hydropower production meant it was paying more

for hydropower generation than it should have been. Southeastern Federal

Power Customers v. Geren, 514 F.3d 1316 (D.C. Cir. 2008). The Corps,

Southeastern Federal Power Customers, and the Georgia Parties negotiated

an agreement to settle which provided for a ten or twenty year “temporary”

reallocation of over twenty percent of the water storage in the Lake Lanier

Reservoir. U.S. Army Corps’ Cross-Motion for Summary Judgment, at 17. In

that agreement, the Georgia Parties agreed to a process in which they would

pay substantially more for interim storage for water supply from the Buford


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Project than they had been paying for withdrawals under the live-and-let-live

agreement. Id. This interim storage would convert to permanent storage

contracts under certain conditions. Id. The payments made under those

contracts would then be used to offset the loss of hydropower generation caused

by the shift to water supply storage, making Southeastern Federal Power

Customers whole. Id. Alabama and Florida objected to this settlement

agreement in two courts. Id. Ultimately, the D.C. Circuit held that the

agreement violated the Water Supply Act because it made a reallocation of

storage that would cause a major operational change without congressional

approval. Geren, 514 F.3d at 1325.

       By 2009, various lawsuits regarding the Corps’ rejection of Georgia’s

request to reallocate 370,930 acre-feet of conservation storage in the Buford

Project to water supply were consolidated by the Judicial Panel on

Multidistrict Litigation in the Middle District of Florida. The district court held

that the Corps exceeded its authority in its “de facto” reallocation of storage to

accommodate water supply withdrawals. In re MDL-1824-Tri-State Water

Rights Litigation, 639 F. Supp. 2d 1308 (M. D. Fla. 2009). On appeal, the

Eleventh Circuit reversed the district court. In re MDL-1824-Tri-State Water

Rights Litigation, 644 F.3d 1160 (11th Cir. 2011). The Eleventh Circuit found

that the district court lacked jurisdiction over the claims filed by Alabama,

Florida, and Southeastern Federal Power Customers challenging the Corps’

ongoing operation of Buford Dam. Id. at 1181. A challenge under the


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Administrative Procedure Act requires “final agency action,” and the Eleventh

Circuit concluded that the Corps had not taken any such final action to

reallocate storage in the Buford Project or completed the necessary

environmental analyses under NEPA and other statutes. Id. at 1182, 1184.

       The Eleventh Circuit also held that Georgia’s 2000 request for a

reallocation of storage in the reservoir to water supply must be remanded to

the Corps. Id. at 1186-97. The Corps had previously concluded that the 1946

Rivers and Harbors Act did not establish water supply as an authorized

purpose of the project, but instead made downstream water supply only an

incidental benefit of operating the project for other purposes. Therefore, it

rejected Georgia’s 2000 request to allow municipal and industrial withdrawals

from Lake Lanier to increase as necessary. The Eleventh Circuit disagreed,

holding that Congress had unambiguously provided that the reservoir would

be operated to accommodate downstream water-supply demands and therefore

allowed an allocation of storage in the reservoir for that purpose. Id. The

Eleventh Circuit held that “Sections 79 and 80 [of the Newman Report

incorporated into the RHA] clearly indicates that Congress intended for water

supply to be authorized, rather than incidental, use of the water stored in Lake

Lanier.” Id. at 1188-89.

       The court concluded that the Corps’ interpretation of the 1946 Rivers

and Harbors Act was not entitled to deference because it had been inconsistent

over time. Id. at 1193. The court held that the Corps must reconsider the


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Georgia water supply request that it had erroneously denied based on lack of

authority. Id. at 1192-93. The court did not define the precise scope of the

Corps’ authority to accommodate water supply, concluding that the

“authorizing legislation is ambiguous with respect to the extent of the Corps’

balancing authority – i.e., the extent of the Corps’ authority under the RHA to

provide water supply for the Atlanta area.” Id. at 1200. The court gave the

Corps one year on remand to arrive at a “well-reasoned, definitive, and final

judgment” as to its authority under the 1946 Rivers and Harbors Act and the

Water Supply Act. Id. at 1205.

       In 2012, the Corps’ Chief Counsel issued a legal opinion concluding that

the Corps was fully authorized to grant Georgia’s request, but that an

Environmental Impact Statement (“EIS”) would need to be prepared before

any decision could be made. NWF’s Compl., at ¶ 89. The Corps prepared a

Memorandum for the Chief of Engineers, known as the 2012 Stockdale Memo,

considering the Corps’ legal authority and an accompanying analysis of the

impacts of providing storage at the Buford Project for water supply. U.S. Army

Corps’ Cross-Motion for Summary Judgment, at 19-20. The Corps concluded

that the 1946 Rivers and Harbors Act provides sufficient authority for the

Corps to meet Georgia’s request as it pertains to releases from the Buford

Project to support downstream water supply. Id. The Corps also concluded that

the Water Supply Act provides sufficient authority for a reallocation of storage

in the reservoir to water supply for direct withdrawals from the reservoir. Id.


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        In 2015, the Corps prepared a draft updated Master Manual and

individual manuals. Ala.’s Compl., at ¶ 24. It also prepared the draft

Environmental Impact Statement under NEPA and a Water Supply Storage

Assessment allocating space at Lake Lanier for Georgia’s water supply in

which the Corps ultimately concluded that it could accommodate Georgia’s

request for storage at the Buford Project to facilitate withdrawals both

downstream and from the reservoir itself. Some potential effects of increasing

the amount for water supply included reduced flows downstream and an

adverse impact on dissolved oxygen, nitrogen and chlorophyll. Id. at ¶¶ 32, 45,

59. During the public comment period on the draft manual, Alabama and the

Environmental Protection Agency objected to the aspects of the proposal

concerning the impairment of applicable water quality standards. Id. at ¶¶ 25,

28.

        Contrary to Alabama’s and the EPA’s concerns, the Corps issued a Final

Environmental Impact Statement which analyzed the effects of the Corps’

updated operations and concluded that the updated Master Manual would

have a “negligible” effect on the Apalachicola River and Bay. NWF’s Compl., at

¶ 172; Final EIS, ACF-18_00054074 (Executive Summary, at 42). The EIS also

acknowledges that the updated Master Manual could have “substantially

adverse” effects on riverine fish and aquatic resources in reaches of the

Chattahoochee River and “slightly adverse” to “substantially adverse” impacts

on the phosphorous, nitrogen, and dissolved oxygen content in the


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Chattahoochee River. NWF’s Compl., at ¶ 210. The Corps ultimately concluded

that it could provide 254,170 acre-feet of storage for direct withdrawals at the

Buford Project without a major change to operations and without seriously

affecting the other project purposes. U.S. Army Corps’ Cross-Motion for

Summary Judgment, at 34. On March 30, 2017, the Corps issued a Record of

Decision adopting the updated Master Manual through the guidance and

support of the Final EIS. NWF’s Compl., at ¶ 23. The Record of Decision (ACF-

18_00000149) is attached as Appendix A to this Opinion and Order.

       Now, the National Wildlife Federation, the Florida Wildlife Federation,

Apalachicola Bay and River Keeper, Inc. and the State of Alabama jointly

challenge the updated Master Manual, alleging that the Corps struck the

wrong balance by giving too much weight to purposes such as water supply and

hydropower generation and not enough to fish and wildlife conservation and

that the Corps violates the Water Supply Act by allowing Georgia to make

direct withdrawals of water from the Buford Dam.

       On May 22, 2020, this Court granted judgment in favor of the

Defendants as to Counts III and portions of Count V of Alabama’s Complaint

which are based on the Clean Water Act. Thus, the State of Alabama now

alleges that the Master Manual should be set aside for four reasons: (1) Count

I, alleging a violation of the Water Supply Act, 43 U.S.C. § 390b(e); (2) Count

II, alleging unlawful abandonment and reordering of authorized project

purposes under the Rivers and Harbors Acts; (4) Count IV, alleging violation


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of the National Environmental Policy Act, 42 U.S.C. §§ 4321 et seq. ; and (5)

Count V, alleging violations of the Administrative Procedure Act, 5 U.S.C. §

706(2)(A), not based on violations of the Clean Water Act. On April 6, 2021,

the Plaintiff the State of Alabama filed its Amended Motion for Summary

Judgment as to all remaining counts. The Defendants the U.S. Army Corps,

the State of Georgia, and the Georgia Water Supply Providers each filed

Responses and Cross-Motions for Summary Judgment [Doc. 202, 211, 216].

       Similarly, on May 22, 2020, this Court granted the Defendants’ Motion

for Judgment on the Pleadings as to Counts II and III of the National Wildlife

Federation’s Complaint. Thus, only Count I remains. Under Count I, the

National Wildlife Federation’s Complaint alleges that the Master Manual

should be set aside because the Final EIS is legally insufficient under the

National Environmental Policy Act of 1969, 42 U.S.C. §§ 4321-4327 (“NEPA”).

On April 5, 2021, the Plaintiff National Wildlife Federation filed its Motion for

Summary Judgment as to Count I. The Defendants U.S. Army Corps, the State

of Georgia, and the Georgia Water Supply Providers filed their Responses and

Cross-Motions for Summary Judgment [Doc. 203, 214, 217].

                                II.    Legal Standard

    When a case comes before the court pursuant to judicial review standards

of the Administrative Procedure Act (“APA”), “the normal rules of summary

judgment do not apply.” St. Johns Riverkeeper, Inc. v. U.S. Army Corps of

Eng’rs , 462 F. Supp. 3d. 1256, 1270 n.6 (M.D. Fla. 2020). Instead, summary


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judgment “serves as the mechanism for deciding, as a matter of law, whether

the agency action is supported by the administrative record and otherwise

consistent with the standard of review.” See Black Warrior Riverkeeper, Inc.

v. U.S. Army Corps of Eng’rs, 354 F. Supp. 3d 1253, 1267 (N.D. Ala. 2018).

Under the APA, a court must set aside agency action, findings, and conclusions

that it finds to be “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

    The court also must ensure that the agency acted within the scope of its

statutory authority, 5 U.S.C. § 706(2)(C), and must determine whether the

Corps’ decision “was reasonably supported by the information before it.” Envtl.

Coal. of Broward Cnty. v. Myers, 831 F.2d 984, 986 (11th Cir. 1987). “This does

not require that all of the data support the agency’s decision, rather It is

enough that the Corps considered all relevant factors and that there is credible

evidence in the record to support its action.” Id. “[T]he agency must examine

the relevant data and articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.”

Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

29, 43 (1983) (internal quotations and citations omitted). The court must

examine whether the agency “relied on factors which Congress has not

intended it to consider,” “entirely failed to consider an important aspect of the

problem,” or “offered an explanation” either contrary “to the evidence before




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the agency” or “so implausible that it could not be ascribed to a difference in

view or the product of agency expertise.” Id.

     The burden is on the plaintiff to demonstrate that the agency acted

arbitrarily and capriciously. See Legal Envtl. Assistance Found. Inc., 276 F.3d

at 1265 (11th Cir. 2001) (internal quotations and citations omitted) (“[A] party

seeking to have a court declare an agency action to be arbitrary and capricious

carries a heavy burden indeed.”). Courts typically resolve APA challenges on

summary judgment, and “[t]he factfinding capacity of the district court is thus

typically unnecessary.” Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744

(1985). “[C]ourts are to decide, on the basis of the record the agency provides,

whether the action passes muster under the appropriate APA standard of

review.” Id.

                                   III.   Discussion

       The Court will address the State of Alabama’s Amended Motion for

Summary Judgment [Doc. 220] and National Wildlife Federation’s Amended

Motion for Summary Judgment [Doc. 219] in turn, along with the Defendants’

corresponding cross-motions for summary judgment.

       A.      Alabama’s Amended Motion for Summary Judgment [Doc. 220]

       The State of Alabama brings this suit to challenge the U.S. Army Corps’

adoption of the updated Master Manual for its system of dams and reservoirs

in the ACF Basin. The State of Alabama and the State of Georgia have not

been able to agree on how to divide the waters of the ACF Basin between them.


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The State of Alabama’s Complaint is centered on the Corps’ management of

the federal dams and reservoirs in the ACF Basin, particularly water supply

in the Buford Project.

       Following the Eleventh Circuit’s decision in In re MDL-1824 Tri-State

Water Rights Litig., 644 F.3d 1160 (11th Cir. 2011), the Corps completed an

Environmental Impact Statement for a revised Master Manual for the ACF

Basin and concluded that it could accommodate Georgia’s request for storage

at the Buford Project to facilitate withdrawals both downstream of the Project

and from the reservoir itself. Alabama now argues that the Master Manual

should be set aside under the Administrative Procedure Act for it is “not in

accordance with the law,” outside the Corps’ “statutory . . . authority,” and

“arbitrary and capricious.” In its Response to the Defendants’ Cross-Motions

for Summary Judgment, the State of Alabama also requests that the Court

rule on Alabama’s supplemental complaint concerning the Corps’ January 20,

2021 execution of a Water Storage Agreement with the State of Georgia for the

reallocated water storage space in Lake Lanier.

       Alabama argues that the Court should deem the updated Master

Manual unlawful for four reasons. In Count I of its Complaint, Alabama

alleges that the Corps violated the Water Supply Act of 1958 by allocating

254,170 acre-feet (23.7%) of the Buford Project’s conservation pool for Georgia’s

direct withdrawals of 222 million gallons of water per day from Lake Lanier.

Ala. Amend. Motion for Summary Judgment, at 28. The Defendants refute this


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contention, arguing that the Corps’ authoritative conclusion to accommodate

Georgia’s water-supply request in the Water Supply Storage Assessment, the

final Environmental Impact Statement, and the Record of Decision for the new

Master Manual, which has now been embodied in a water-supply contract, is

valid under the Water Supply Act and is entitled to significant deference from

this Court.

       In considering the Corps’ interpretation of its statutory authority to

reallocate 254,170 acre-feet of the Buford Project’s conservation pool to

Georgia’s water supply for direct withdrawals, the Court applies the familiar

two-step analysis under Chevron, U.S.A., Inc. v. Natural Resources Defense

Council, Inc., 467 U.S. 837 (1984).

       [Where] Congress has directly spoken to the . . . issue . . . that is
       the end of the matter; for the court, as well as the agency, must
       give effect to the unambiguously expressed intent of Congress . .
       . if the statute is silent or ambiguous with respect to the specific
       issue, the question for the court is whether the agency’s answer
       is based on a permissible construction of the statute.”

Id. at 842-43. The Court begins the inquiry by determining “whether Congress

had a specific intent on the precise question before us.” Friends of the

Everglades v. S. Fla. Water Mgmt. Dist., 570 F.3d 1210, 1223 (11th Cir. 2009).

When an agency is “charged with administering a statute, part of the authority

it receives is the power to give reasonable content to the statute’s textual

ambiguities — in other words, the authority to fill gaps.” Miami-Dade County

v. U.S. EPA, 529 F.3d 1049, 1062 (11th Cir. 2008) (internal quotations and

citation omitted). “Where Congress has committed the enforcement of a statute

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to a particular executive agency, Congress has sufficiently indicated its intent

that statutory gaps be filled by the executive agency.” Gonzalez v. Reno, 212

F.3d 1338, 1349 n.11 (11th Cir. 2000). Importantly, “Chevron applies equally

to statutes designed to curtail the scope of agency discretion.” See Arlington v.

F.C.C., 569 U.S. 290, 303 (2013).

       The Court agrees with the Defendants that Congress gave the Corps

supplemental authority in the Water Supply Act to modify Corps’ projects to

provide storage for municipal and industrial water supply, so long as adding

the modifications would not cause a “major structural or operational change”

from the structures and operations authorized by Congress or “seriously affect”

the congressionally authorized project purposes. 43 U.S.C. § 390b(e). The

Water Supply Act provides:

       Modifications of a reservoir project heretofore authorized,
       surveyed, planned, or constructed to include storage as provided
       in subsection (b) of this section which would seriously affect the
       purposes for which the project was authorized, surveyed, planned,
       or constructed, or which would involve major structural or
       operational changes shall be made only upon the approval of
       Congress as now provided by law.

43 U.S.C. § 390b(e). Although the statute specifies that the Corps should seek

congressional authorization before approving a modification that involves

major operational changes to or seriously affects the purposes of a federal

project, the statute does not define those key terms. Terms like “major” and

“seriously affect” are vague, expansive terms that are subject to any number of

reasonable constructions. See Teva Pharmaceuticals USA, Inc. v. U.S. Food


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and Drug Administration, No. 20-808, 2020 WL 7828788, at *20-22 (D.D.C.

Dec. 31, 2020) (deferring to the agency’s interpretation of the term “protein”

because the term was undefined and open to multiple definitions).

       In U.S. v. Mead Corp., 533 U.S. 218, 229 (2001), the United States

Supreme Court recognized that the ability to speak with the force of law can

exist absent an express delegation. Where a statute is ambiguous, the agency’s

interpretation is entitled to “controlling weight” as long as that interpretation

is reasonable. National Ass’n of State Utility Consumer Advocates v. F.C.C.,

457 F.3d 1238, 1253 (11th Cir. 2006) (internal quotations omitted). This lenient

standard requires deference “even if the agency’s reading differs from what the

court believes is the best statutory interpretation.” Arevalo v. U.S. Atty. Gen.,

872 F.3d 1184, 1195 (11th Cir. 2017) (internal quotations and citations

omitted). To be reasonable, an interpretation need only be “rational and

consistent with the statute.” In re Gateway Radiology Consultants, P.A., 983

F.3d 1239, 1256 (11th Cir. 2020) (internal quotations and citations omitted).

       Deference is especially appropriate where, as here, a statute contains

significant gaps calling for an agency’s technical judgment. In these situations,

“a full understanding of the force of the statutory policy depends upon more

than ordinary knowledge” of the situation confronting the agency. E.P.A. v.

EME Homer City Generation L.P., 572 U.S. 489, 513 (2014) (internal

quotations and citations omitted). Agencies are in a far better position to

address questions than courts are, where those questions are technical,


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complex, and dynamic. See Nat’l Cable and Telecoms. Ass’n v. Brand X

Internet Servs., 545 U.S. 967, 1002-03 (2005). “Particular deference is accorded

to the informed discretion of the responsible federal agencies where issues of

science, technical expertise or complex environmental statutes are involved.”

Fla. Keys Citizens Coal., Inc. v. U.S. Army Corps of Eng’rs, 374 F. Supp. 2d

1116, 1127 (S.D. Fla. 2005). Courts must be “extremely deferential when an

agency’s decision rests on the evaluation of complex scientific data within the

agency’s technical expertise.” Defenders of Wildlife v. Bureau of Ocean Energy

Mgmt., 684 F.3d 1242, 1250 (11th Cir. 2012) (internal quotations and citations

omitted).

       Thus, “the administering agency’s construction is to be accorded

controlling weight unless . . . arbitrary, capricious, or manifestly contrary to

the statute.” E.P.A. v. EME Homer City Generation, L.P., 572 U.S. 489, 513

(2014) (internal quotations and citations omitted). The analysis of agency

action under Chevron step two and arbitrary and capricious review is often

“the same, because under Chevron step two, [the court asks] whether an

agency interpretation is arbitrary or capricious in substance.” Judulang v.

Holder, 565 U.S. 42, 52 n.7 (2011) (internal quotations and citations omitted).

“The scope of review under the ‘arbitrary and capricious’ standard is narrow

and a court is not to substitute its judgment for that of the agency.” Motor

Vehicle Mfrs. Ass’n of U.S., 463 U.S. at 43.




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       Here, the Plaintiff fails to show that the Corps’ decision under the Water

Supply Act was either arbitrary or capricious. And even if the Corps’ decision

was not entitled to substantial deference from this Court, the Corps’

determination was also correct and reasonable on its own terms. Alabama

argues that the Water Supply Act barred the Corps from reallocating the direct

withdrawal storage without congressional approval because the reallocation

“involve[s] major structural or operational changes” to an existing reservoir

and “seriously affect[s] the purposes for which the project was authorized.” 43

U.S.C. § 390b(e). The Defendants refute this contention, arguing that the

Corps’ conclusion that it can accommodate Georgia’s water supply request

under the Water Supply Act without congressional approval is well-reasoned

and correct. The Court agrees.

       In the U.S. Army Corps’ Cross-Motion for Summary Judgment, the

Corps thoroughly outlines exactly how it arrived at its decision as follows. In

In re MDL-1824 Tri-State Water Rights Litigation, 644 F.3d 1160 (11th Cir.

2011), the Eleventh Circuit held that water supply was an authorized use of

the Buford Project. The Eleventh Circuit then instructed the Corps to

reconsider the Georgia water supply request that it had erroneously denied

based on lack of authority. Id. at 1192-97. In 2012, the Corps’ Chief Counsel

issued a legal opinion concluding that the Corps was fully authorized to grant

Georgia’s request, but that an Environmental Impact Statement would need

to be prepared before any decision could be made. NWF’s Compl., at ¶ 89. The


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Corps prepared a Memorandum for the Chief of Engineers, known as the 2012

Stockdale Memo, considering the Corps’ legal authority and an accompanying

analysis of the impacts of providing storage at the Buford Project for water

supply. U.S. Army Corps’ Cross-Motion for Summary Judgment, at 19-20.

       In the 2012 Stockdale Memo, the Corps considered the meaning of

“major” and “seriously” and concluded that those terms are a matter of degree

and refer to changes and impacts that fundamentally depart from

congressional intent for a project. Id. at 40-41. The Corps concluded that it

would determine whether a change fundamentally departs from congressional

intent by first considering the actual withdrawals from the reservoir and

returns to the reservoir that are projected in the request and then considering

how those actual withdrawals and returns will impact operations and project

purposes. Id. at 41. After this determination, the Corps calculated the storage

necessary to fulfill the request. Id. The Corps acknowledged that the size of a

reallocation in terms of acre-feet of storage or percent of reservoir storage is

not the proper measure for determining whether modifying a project for water

supply storage will require major operational changes or seriously affect

project purposes. Id. The Corps decided that calculations of storage are

independent from the impacts to operations and purposes from the actual

withdrawals and returns. Id.

       Rather, the Corps focused on the actual changes and impacts that the

withdrawals and returns necessitating the storage would involve. Id. The


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Corps determined that there are three operational principles at the Buford

Project required under the Rivers and Harbors Acts of 1945 and 1946. Id. First,

the Project was proposed and approved as one component in a system of

projects and therefore must be operated as an integral part of the ACF system

with system-wide operations in mind. Id. at 42. Second, the Buford Project

must be operated to serve the system-wide purposes articulated by Congress.

Id. Third, the authorizing legislation allows the full drawdown of the Buford

Project’s conservation pool to serve those system-wide authorized purposes. Id.

The Corps concluded that it may add storage for water supply under the

authority of the Water Supply Act so long as it makes no major change to those

congressionally contemplated operations. Id.

       The Corps then prepared a technical report concluding that granting

Georgia’s request for storage to supply up to 277 million gallons per day from

the reservoir, with projected returns of 107 million gallons per day, would not

result in major operational changes. Id. at 42-43. Storage to supply that yield

of water would come from the existing conservation storage at the Project while

leaving sufficient conservation storage to maintain operations for all other

authorized purposes even during the record drought. Id. at 43. Because the

storage would come entirely from the conservation pool, the Corps found that

flood control operations would be unaffected. Id. at 43. Thus, in times of

drought, operations would involve drawing down the pool to five feet above the




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minimum pool elevation for efficient hydropower operations which is a

drawdown contemplated in the Newman Report. Id. at 43.

       After concluding that a relocation of storage would not involve any major

operational change, the Corps then considered whether any project purpose

would be seriously affected by providing storage to accommodate Georgia’s

request. Id. at 43. Those purposes include flood control, navigation, recreation,

and hydropower generation. Id. The Corps determined that flood control would

be unaffected, navigation improved, and recreation impacted “within the range

of drawdown” contemplated by the authorizing legislation. Id. at 43-44.

Regarding hydropower, the system-wide dependable capacity for hydropower

generation would be reduced by less than 1% and the value of that hydropower

by 4.44% on an average annual basis. Id. at 44. The Corps determined that

because the remaining capacity and value would still greatly exceed Congress’

expectations when it authorized the Buford Project, impacts to hydropower are

not serious because they do not fundamentally depart from congressional

expectations. Id. at 44.

       After the 2012 Stockdale Memo, Georgia revised its request downward

and sought a reallocation sufficient to allow the withdrawal of 222 million

gallons per day from the reservoir. Id. at 44. The Corps then prepared a Water

Supply Storage Assessment to “fully evaluate the potential impacts to the

authorized purposes” of reallocating the requested storage amount. Id. at 44.




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The Water Supply Storage Assessment adopted and incorporated the 2012

Stockdale Memo’s analysis of Georgia’s then larger request. Id.

       The Corps concluded that the proposed reallocation of 254,170 acre-feet

of conservation storage in Lake Lanier to accommodate 222 million gallons per

day from the reservoir is the most cost effective and timely means of satisfying

the State of Georgia’s projected water demands and would not involve any

structural changes or major operational changes nor would it seriously affect

any authorized purpose of the ACF system. Id. The Corps also found that

granting Georgia’s request would not require major changes to hydropower

operations in the Basin. The Corps decided that it could both grant the request

and conduct hydropower operations that greatly exceed the actual figures

presented to Congress in the Newman Report in terms of system capacity and

value. Id. at 27. The Corps then issued the Record of Decision adopting the

reallocation as part of the new Master Manual. Id. at 45.

       Section 301 of the Water Supply Act plainly states that a major

operational change to a project falling within its scope requires prior

congressional approval. Consistent with this plain text, the Corps has long

recognized that its discretion to alter a project’s operations without

congressional approval is limited to non-major matters. Alabama argues that

the Corps’ interpretation of “major operational change” and “seriously affects”

is wrong. Alabama mainly supports it argument for major operational change

based on the size of the reallocation, D.C. Circuit precedent, a 1970


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Congressional Research Service Report, and the extensiveness of the Master

Manual that accompanies the change.

       Alabama’s main arguments for a major operational change stem from

the sheer size, 254,170 acre-feet, of the reallocation and the reallocation

percentage, 23.7%, of Lake Lanier’s conservation pool. Alabama focuses on

Southeastern Federal Power Customers, Inc. v. Geren, 514 F.3d 1316 (D.C.

Cir. 2008) where the D.C. Circuit held that a reallocation of a little over 22%

of Lake Lanier’s storage space constituted a major operational change for

which the Water Supply Act required prior congressional approval. However,

the Court agrees with the Eleventh Circuit’s interpretation of the case. The

Eleventh Circuit held that “it is clear that the question of whether percent

reallocation of storage is the correct or sole measure of operational change was

not actually litigated.” In re MDL-1824 Tri-State Water Rights Litigation, 644

F.3d at 1203. Southeastern Federal Power Customers, Inc. v. Geren involved

a proposed settlement agreement, with no administrative record or technical

examination by the Corps of the operational changes that the agreement would

necessitate. “The parties assumed, but did not put at issue, the question of

whether percent reallocation of storage is the correct or sole measure of

operational change.” Id. Thus, the “Geren court made the same assumption in

its opinion, without any discussion of the issue.” Id. Nothing precluded the

Corps from later determining the appropriate measure of operational change

based on its own expertise.


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       When the Corps considered the question on remand, the Corps

concluded that neither the size in acre-feet nor the percentage of storage

capacity is an appropriate measure of operational change. In the 2012

Stockdale Memo, the Corps expressly rejected the proposition that the size of

a reallocation is an appropriate measure of operational change under the

Water Supply Act. U.S. Army Corps’ Cross-Motion for Summary Judgment, at

46. Rather, the Corps focuses on the actual, net removal of water from the

reservoir including any withdrawals as well as any returns that affect

operations for other authorized purposes, instead of the amount or percent of

storage to which the Corps grants rights in a Water Supply Act contract. Id.

The Court agrees with the Defendants that Alabama does not sufficiently show

why the size of a storage reallocation in isolation gives any useful information

about the operational changes of the reallocation. The Court defers to the U.S.

Army Corps’ expertise in determining how to measure a major operational

change.

       Aside from size, Alabama mentions purported changes to the guide

curve, release restriction to support recreation, and to the action zones. But

the Court agrees with the Defendants that the Water Supply Act’s limitations

only should apply to changes to required operations by Congress in the

authorizing legislation. These are not operations specified in the original

project authorizations passed by Congress, and Alabama does not explain how




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any of the changes it points to would meet the threshold nor how the alleged

changes were adopted to accommodate Georgia’s water supply request.

       Next, Alabama argues that the Corps’ reallocation would “seriously

affect the purposes for which the project was authorized” and thus requires

prior congressional approval. 43 U.S.C. § 390b(e). Alabama solely focuses on

hydropower reduction, arguing that the reallocation would seriously diminish

the Corps’ ability to use the Buford Project to generate power. Alabama

contends that the Corps would be holding back 222 million gallons per day for

Georgia’s direct withdrawal, resulting in 126.5 million gallons per day less that

is released through the dam’s turbines and on to the other hydropower-

generating projects in the basin.

       Relying on a declaration of its own expert and not the projections made

by the Corps, Alabama argues that hydropower generation at the Buford

Project would drop by 14.48%, while system-wide generation would be down

more than 4%. However, the Corps concluded that the dependable hydropower

capacity throughout the system would be reduced by less than 1%, and the

overall system hydropower value would decrease by 4.44%. Alabama does not

contest these numbers on their own terms, but instead presents its own model.

       The Court agrees with the Defendants that Alabama errs by focusing on

the individual projects rather than the entire system as whole, which

contradicts congressional intent for the ACF Basin. Alabama also assumes that

there is a one-to-one correspondence between water withdrawn from the


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system and water available for other system purposes. The Corps’ analysis is

both reasonable and reasonably explained. “Once we find a rational connection

between the evidence and the decision, we must defer to the agency’s

expertise.” Tackitt v. Prudential Ins. Co. of America, 758 F.2d 1572, 1575 (11th

Cir. 1985).

       As the Defendants explain, the numbers suggested by Alabama would

still not seriously affect the hydropower purposes Congress established

because the remaining hydropower generation would still far outpace

congressional expectations for the project in the authorizing legislation. A

reallocation cannot cause a serious effect on the hydropower purpose

established by Congress where the project will still be generating significantly

more hydropower than Congress expected even after the reallocation. Based

on the Corps’ extensive administrative and technical record, the Court must

give great deference to the Corps’ decision. The Court finds that the Corps’

decision regarding Georgia’s request without congressional approval is not

arbitrary or capricious, it is reasonable and reasonably explained, and deserves

significant deference from this Court.

       In Count II of its Complaint, Alabama alleges that the U.S. Army Corps

violated the Rivers and Harbors Acts of 1945 and 1946 through unlawful

abandonment and improperly elevating water supply over other project

purposes. Alabama argues that the Corps has offered no assurance that the

changes will not transform the Buford Project from a project Congress


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authorized for multiple purposes – hydropower, navigation, flood control, and

downstream water supply – into a project that emphasizes the water supply

purpose above the others. Alabama contends that the changes would not be in

accordance with the Buford Project’s original authorization under the Rivers

and Harbors Acts of 1945 and 1946, would be in excess of the Corps’ authority

under those statutes, and would be due to be set aside under the APA. The

Court disagrees.

       The Corps reasonably concluded that it can make releases to facilitate

the downstream withdrawal of 379 million gallons per day from the Buford

Project under the authority of the Rivers and Harbors Acts of 1945 and 1946.

The Corps reasonably interpreted that the Rivers and Harbors Act of 1946 as

authorizing it to make releases sufficient to meet Georgia’s request for

downstream water supply. The Corps’ interpretation of the extent of its

discretion to operate the Buford Project for downstream water supply is

entitled to deference. In In re MDL-1824-Tri-State Water Rights Litigation,

644 F.3d 1160, 1200 (11th Cir. 2011), the Eleventh Circuit held that the

“authorizing legislation is ambiguous with respect to the extent of the Corps’

balancing authority – i.e., the extent of the Corps’ authority under the RHA to

provide water supply for the Atlanta area.” The Eleventh Circuit remanded to

the Corps to reconsider Georgia’s request in light of the holding that the Corps

has authority to accommodate downstream water supply as an authorized

purpose of the Buford Project. Thus, the Eleventh Circuit left the contours of


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that authority to “the agency authorized by Congress to implement and

enforce” the Rivers and Harbors Act of 1946. Id.

       The Corps thoroughly outlines how it arrived at its decision by

examining the Newman Report and modeling the extent to which the Corps

can serve downstream water supply consistent with the original authorizing

legislation. See U.S. Army Corps’ Cross-Motion for Summary Judgment, at 54-

55. As the Corps states, Congress did not order the priorities of the project

purposes in the Rivers and Harbors Act, nor did it provide specific allocations

of storage within the conservation pool to particular purposes or mandate a

particular navigation channel depth. The Corps has significant discretion to

balance the often competing purposes at its multi-purpose reservoirs. The

Court agrees with the Defendants that Alabama makes no showing that

providing for downstream withdrawals in the manner modeled by the Corps is

either inconsistent with the Newman Report or will have any significant

impact on any project purpose. Alabama fails to sufficiently show that the

operations under the Master Manual to facilitate downstream withdrawals, by

themselves, exceed the Corps’ authority under the Rivers and Harbors Acts of

1945 and 1946.

       In Count IV of its Complaint, Alabama alleges violations of the National

Environmental Policy Act of 1969 (“NEPA”). NEPA requires agencies to issue

a detailed statement concerning the environmental impact of their significant

actions. 42 U.S.C § 4332(2)(C)(i). Alabama argues that the Corps’


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Environmental Impact Statement concealed the Master Manual’s and Water

Supply Storage Assessment’s full impacts, by comparing them to the conditions

that had been present under the 1989 draft manual which was not subject to

NEPA review, instead of the environment as it existed when the 1958 and 1959

manuals were adopted. Alabama contends that this alleged concealment

renders the Corps’ decision not “in accordance with” NEPA, and due to be “set

aside” under the APA. 5 U.S.C. §§ 706(2)(A),(C).

        The Court agrees with the Defendants that there is no basis for the

Plaintiff’s claim under NEPA. The Council on Environmental Quality’s NEPA

regulations require an agency to evaluate reasonable alternatives including

“no action alternative.” 40 C.F.R. § 1502.14(c). The Corps evaluated the

updated ACF Manual against a “no action” alternative as the environment as

it existed at the time that the Corps updated the manual in 1989. 40 C.F.R. §

1502.14(c). The “no action” alternative represents no change from the current

management direction or level of management intensity. The “no action”

alternative also represents continuation of the current water management

operations of each of the Corps’ projects in the ACF Basin. The management

practices are drawn from the Corps’ original 1958 master manual, project

Water Control Manuals, and the 1989 Draft Water Control Plan. The Corps’

“no action” alternative considered current reservoir operations and the current

level of direct withdrawals.




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       Congress enacted NEPA “to promote efforts which will prevent or

eliminate damage to the environment and biosphere.” Pub. L. 91-190, § 2, 83

Stat. 852, 852 (1970). NEPA’s procedures are triggered when agencies engage

in “major Federal actions significantly affecting the quality of the human

environment.” 42 U.S.C. § 4332(2)(C). The Court agrees with the Defendants

that an agency cannot know if its proposal will significantly affect the quality

of the human environment if it considers hypotheticals as opposed to realities.

As the State of Georgia concludes, an agency could not fulfill NEPA’s policy of

preventing or eliminating damage to the environment if it can satisfy the

statute by demonstrating that its projects will not cause any detriment to

environmental conditions that no longer exist. Alabama also does not point to

a single environmental impact that the Corps overlooked or did not disclose.

       The Court agrees with the Tenth Circuit’s reasoning in Custer County

Action Ass’n v. Garvey, 256 F.3d 1024, 1040 (10th Cir. 2001), where the court

held that the Council on Environmental Quality’s intention was that agencies

compare the potential impacts of the proposed federal action to the known

impacts of maintaining the status quo. In Alabama’s proposal, the Corps would

have to describe an environment that has not existed for decades and analyze

the management practice not as they actually exist but as a hypothetical set of

conditions. Like many other districts, the Court holds that the interpretation

of the “no action” alternative as the current level of activity used as a

benchmark is correct. See Hells Canyon Alliance v. U.S. Forest Service, 227


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F.3d 1170 (9th Cir. 2000); Northwest Envtl. Defense Center. v. U.S. Army

Corps of Eng’rs, 817 F. Supp. 2d 1290 (D. Or. 2011); Natural Resources Defense

Council, Inc. v. Hodel, 624 F. Supp. 1045, 1054 (D. Nev. 1985).

       In Count V of its Complaint, Alabama alleges violations of the

Administrative Procedure Act (“APA”). Alabama argues that the Master

Manual and Water Supply Storage Assessment should be set aside because of

the Corps’ failure to acknowledge and offer a reasoned explanation for its

departure from its own water-quality policy. The Corps has maintained a

policy to ensure that its project operations do not degrade water quality. The

Court agrees with the Defendants that even if the Corps did not follow its

guidance as Alabama alleges, the Corps adequately explained the reasons for

its decision to select the preferred alternative despite potential impacts to

water quality. Alabama argues that the Environmental Impact Statement

revealed that the Corps’ selected alternative would degrade water quality in

the Chattahoochee, and the Corps did not acknowledge that this result

amounts to a deviation from its water quality policy or offer a reasoned

explanation for it. Alabama argues that this failure violated the APA’s

mandate of reasoned decision-making, which requires an agency abandoning

its precedents to at the very least acknowledge the change and to offer a

reasoned explanation.

       But Alabama admits that the Corps acknowledged its guidance and that

the guidance had been applied in the update process. Alabama also admits that


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the Corps fully considered and disclosed all the relevant impacts to water

quality. And Alabama admits that the Corps explained in the Environmental

Impact Statement and the Record of Decision that it was adopting the

preferred alternative despite the potential impact to water quality because the

“substantial benefits to water supply . . . outweigh the potentially adverse

water quality impacts associated with increased water supply uses” and the

impacts could be addressed by state regulators.

       Thus, even if the Corps’ action was a departure from its guidance, the

Corps adequately explained the reasons for its substantive action. The Court

defers to “an agency’s ultimate findings as well as drafting decisions like how

much discussion to include on each topic . . . .” Black Warrior Riverkeeper, Inc.

v. U.S. Army Corps of Eng’rs, 833 F.3d 1274, 1285 (11th Cir. 2016) (internal

quotations and citations omitted). Courts even must uphold a decision of less

than ideal clarity if the agency’s path may be reasonably discerned. Id. Here,

the Court agrees with the Defendants that the Corps adequately explained its

conclusions with respect to water quality and the reasons it chose to proceed

despite potential impacts to water quality.

       In addition to Counts I, II, IV, and V, Alabama also requests that the

Court rule on Alabama’s Supplemental Complaint concerning the Corps’

January 20, 2021 execution of a Water Storage Agreement for the reallocated

water storage space in Lake Lanier with the State of Georgia. Supp. Compl.,

[Doc. 205]. The Plaintiff’s request the Court to hold the Lanier Contract


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unlawful or to direct the Defendants to revise or prepare a new Lanier Contract

consistent with the congressionally authorized purposes of projects in the ACF

Basin and with the Water Supply Act and the Corps’ regulations. Because the

Court finds the Corps’ decision to be consistent with the congressionally

authorized purposes of the ACF Basin and defers to the Corps’ decision under

the Water Supply Act and the Rivers and Harbors Acts of 1945 and 1946, the

Court denies the Plaintiff’s request regarding the Lanier Contract.

       Thus, the Court denies the State of Alabama’s Motion for Summary

Judgment [Doc. 220] and the State of Alabama’s Supplemental Complaint

[Doc. 205] and grants the Defendant U.S. Army Corps’ Cross-Motion for

Summary Judgment [Doc. 202], the Defendant State of Georgia’s Cross-

Motion for Summary Judgment [Doc. 211], and the Defendant the

Georgia Water Supply Providers’ Cross-Motion for Summary Judgment [Doc.

216]. B.       National Wildlife Federation, Florida Wildlife Federation and
               Apalachicola Bay and River Keeper’s Amended Motion for
               Summary Judgment [Doc. 219]

       In the National Wildlife Federation’s Complaint, the Plaintiffs move for

summary judgment on Count I, alleging violations of the National

Environmental Policy Act of 1969 (“NEPA”), 42 U.S.C. §§ 4321-4347. The

Plaintiffs have “the burden of showing by a preponderance of the evidence that

the agency did not comply with NEPA’s procedures.” Citizens for Smart

Growth v. Secretary of Dep’t of Transp., 669 F.3d 1203, 1211 (11th Cir. 2012).

The Council on Environmental Equality’s regulations provide guidance on the


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steps that agencies should take to fulfill NEPA’s procedural requirements.

First, an agency must “briefly specify the underlying purpose and need for the

proposed action.” 40 C.F.R. § 1502.13. Second, if the agency considers a

potential alternative but does not rigorously analyze that alternative in its

environmental impact statement, the agency must briefly discuss the reasons

for eliminating it “from detailed study.” 40 C.F.R. § 1502.14(a). Third, the

agency must discuss remaining alternatives, including the no-action

alternative, “in detail . . . so that reviewers may evaluate their comparative

merits.” 40 C.F.R. §§ 1502.14(b), (c).

       The Plaintiffs allege that the Corps unreasonably narrowed the fish and

wildlife conservation project purpose to limit the consideration of alternatives.

First, “NEPA’s only requirement regarding the Purpose and Need Statement

is that it briefly specify the underlying purpose and need to which the agency

is responding in proposing the alternatives including the proposed action.”

Citizens for Smart Growth, 669 F.3d at 1212 (internal quotations and citations

omitted); C.F.R. § 1502.13. The purpose and need statement “is left to the

agency’s expertise and discretion, and [courts] defer to the agency if the

statement is reasonable.” Citizens for Smart Growth v. Peters, 716 F. Supp. 2d

1215, 1223 (S.D. Fla. 2010) (internal quotations and citations omitted). Section

1.2 of the Environmental Impact Statement states, “the purpose and need for

the federal action is to determine how [Corps] projects in the ACF Basin should

be operated for their authorized purposes, in light of current conditions and


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applicable law, and to implement those operations through updated water

control plans and manuals.” The Court agrees with the Defendants that the

Plaintiffs have not shown the purpose and need statement is itself too narrow

or otherwise arbitrary and capricious.

       Next, the ACF Project’s purposes are different than the “purpose and

need” of the Environmental Impact Statement. The ACF Project’s purposes are

defined by Congress, while the purpose and need statement is developed by the

agency to define the scope of a proposed action. The Plaintiffs provide no

support for their argument that fish and wildlife conservation is a coequal

purpose of the ACF Basin. Regardless, the Corps made reducing adverse effects

on system operations on endangered species an express objective of the water

management phase of the process. The Corps’ screening criteria included “Fish

and Wildlife” as one of the factors used to evaluate which potential water

management alternatives would be evaluated in the Environmental Impact

Statement. Even if the Plaintiffs wanted the Corps to grant fish and wildlife

conservation even more consideration, courts afford “considerable deference to

the agency’s expertise and policy-making role” in defining its objectives and

grant agencies discretion to determine which purpose need they will consider.

Theodore Roosevelt Conservation Partnership v. Salazar, 661 F.3d 66, 73

(D.D.C. 2011) (internal quotations and citations omitted).

       The Plaintiffs also allege that the Corps obscured the damaging impacts

of its current operations on the ACF Basin by subsuming those into a “baseline”


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against which to measure the impacts of its proposed action. The Plaintiffs

challenge the Corps’ description of the environmental baseline regarding the

“no action” alternative analyzed in the Environmental Impact Statement,

arguing that the Corps’ “no action” alternative should not encompass

management practices under the 1989 draft manual that was not subject to

NEPA review. As previously mentioned, the Corps detailed the status of the

affected environment as it existed when the Environmental Impact Statement

was prepared. The Corps correctly defined the “no action” alternative as the

current operations of the ACF Basin, rather than a hypothetical set of

conditions that may have existed 63 years ago, and that do not represent the

current status quo or management practices. The Court rejects the Plaintiffs’

proposition to require the Corps to utilize an artificial, historical baseline. Once

again, the Corps’ judgment and selection of a baseline that represented no

change from current management is deserving of deference, consistent with

NEPA, and neither arbitrary nor capricious.

       Next, the Plaintiffs allege that the Corps restricted its environmental

impact analysis to largely “all-or-nothing” alternatives. The Plaintiffs argue

that additional alternatives should have been considered and that the Corps’

assessment of return rates was arbitrary. NEPA requires the agency to “study,

develop, and describe appropriate alternatives to recommended courses of

action in any proposal which involves unresolved conflicts concerning

alternative uses of available resources.” 42 U.S.C. § 4332(2)(E). However,


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“NEPA provides little guidance in determining what alternatives must be

considered.” North Buckhead Civic Ass’n v. Skinner, 903 F.2d 1533, 1541 (11th

Cir. 1990). The scope of alternatives is “bounded by some notion of feasibility,

and consideration need be given only to reasonable, non-speculative

alternatives.” Id. (internal quotations and citations omitted). “Common sense .

. . teaches us that a detailed statement of alternatives cannot be found wanting

simply because the agency failed to include every alternative device and

thought conceivable by the mind of man.” Citizens for Smart Growth, 716 F.

Supp. 2d at 1227-28 (internal quotations and citations omitted).

       An “EIS is satisfactory if the treatment of alternatives, when judged

against a rule of reason, is sufficient to permit a reasoned choice among the

various options.” Id. (internal quotations and citations omitted). The Corps was

not required to adopt or bring forward for fuller consideration the Plaintiffs’

preferred alternatives or management measures, nor was the Corps required

to analyze any specific number or scope of alternatives. The Court agrees with

the Defendants that the Corps’ detailed discussion of alternatives as it relates

to this highly technical series of decisions, so long as it is not arbitrary and

capricious, should be upheld. The Plaintiffs have not shown by a

preponderance of the evidence that the Corps has not met that standard.

       The Court agrees with the Defendants that the ten alternatives that the

Corps considered enabled reasoned choices considering the objectives the

Corps had identified. The Plaintiffs do not identify any unexamined alternative


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that could accomplish the Corps’ competing goals, in light of the extensive

explanations that the Corps provided for its screening decisions. The Plaintiffs

make no showing that the Corps’ selection of alternatives was arbitrary or

capricious.

       Finally, the Plaintiffs allege that the Corps failed to analyze the direct,

indirect, and cumulative impacts of its actions. The Court disagrees. Agencies

preparing environmental impact statements analyze among other things the

indirect impacts of proposed actions. See Citizens for Smart Growth, 669 F.3d

at 1212. These are defined to include the “reasonably foreseeable long-term

effects of the proposed action.” Id. at 1214. NEPA entrusts each agency with

the task of determining both the scope of impacts addressed and the depth at

which they will be addressed. This task, assigned to the special competency of

the agency, “can only be overturned by a showing of arbitrariness or

capriciousness.” Id. at 1215.

       The Corps exhaustively detailed the direct, indirect, and cumulative

impacts of its proposed action. The Plaintiffs have not demonstrated that the

Corps failed to sufficiently analyze any discrete environmental impact that is

subject to the Corps’ control nor have they shown that the agency’s discussion

of impacts was arbitrary or capricious. The Corps considered indirect impacts

by analyzing indirect impacts of water quality and lake levels. The Plaintiffs

do not explain any further reasonably foreseeable long-term effects that the

Corps should have analyzed here. The Corps considered cumulative impacts,


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including the ones the Plaintiffs complain about. See State of Georgia’s Cross-

Motion for Summary Judgment, at 47-49. To the extent that the Plaintiffs

would prefer a more extensive discussion of these issues, that is not a reason

to overturn the Environmental Impact Statement.

       The Corps also considered mitigating measures. In addition to

considering actions that the Corps could take to mitigate incidental harms

throughout the Basin, the Corps considered exactly the “measures . . . outside

its jurisdiction.” The Plaintiffs fault the Corps for punting mitigation to

Georgia, but agencies can recognize that other entities are in the best position

to take appropriate action. The agency need not delay adopting its preferred

alternatives while those other entities choose “what mitigating measures they

consider necessary.” Robertson v. Methow Valley Citizens Council, 490 U.S.

332, 353 (1989).

       The Corps’ years-long analysis of the ACF Basin clearly meets NEPA’s

procedural requirement. The record does not support the Plaintiffs’ arguments

for NEPA violations. The Corps reasonably defined objectives for its proposed

federal   action,    screened     potential     alternatives,   subjected   remaining

alternatives to a thorough analysis, and considered potential environmental

issues and impacts on competing ACF Basin purposes. The Corps subjected its

decision to public notice and comment and exercised its discretion to choose a

substantive outcome. The Defendants show that each of the concerns that the

Plaintiffs identify with the Corps’ process was carefully considered by the


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Corps and validly rejected as part of the Corps’ screening process. While the

Plaintiffs may disagree with the Corps’ analysis or methodological choices,

courts “can overturn an administrative decision only if there are substantial

procedural flaws, and not simply because we may disagree with the decision.”

Druid Hills Civic Ass’n, Inc. v. Federal Highway Admin ., 772 F.2d 700, 712

(11th Cir. 1985).

       Thus, the Court denies the Plaintiffs National Wildlife Federation,

Florida Wildlife Federation, and Apalachicola Bay and River Keeper’s Motion

for Summary Judgment [Doc. 219] and grants the Defendant U.S. Army Corps’

Cross-Motion for Summary Judgment [Doc. 203], the Defendant State of

Georgia’s Cross-Motion for Summary Judgment [Doc. 213], and the Defendant

the Georgia Water Supply Providers’ Cross-Motion for Summary Judgment

[Doc. 218].

                                   IV.    Conclusion

       The ACF Basin Master Water Control Manual Update assures a

dependable supply of water from Lake Lanier and the Chattahoochee River to

the Atlanta Metropolitan region through the year 2050. It does so without

significant sacrifices to environmental standards, and recognizes the need to

maintain other uses of the ACF system such as flood control, hydropower

generation, fish and wildlife conservation, navigation and recreation. The

effect upon the Apalachicola River and Bay will be negligible. The decision

was not arbitrary or capricious. The Plaintiffs have not met their burden of


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showing that this delicate balance should be upset. In the absence of an

agreement among Georgia, Florida and Alabama, there is no better

alternative. Decades of deferral and delay due to litigation should end. For the

reasons stated above, the Court DENIES the Plaintiff State of Alabama’s

Motion for Summary Judgment and Amended Motion for Summary Judgment

[Doc. 164, 220], DENIES the Plaintiff National Wildlife Federation, Florida

Wildlife Federation, and Apalachicola Bay and River Keeper’s Motion for

Summary Judgment and Amended Motion for Summary Judgment [Doc. 165,

219], GRANTS the Defendant U.S. Army Corps of Engineers’ Cross-Motions

for Summary Judgment [Doc. 202, 203], GRANTS the Defendant State

of Georgia’s Cross-Motions for Summary Judgment [Doc. 211, 213] and

GRANTS the Defendant Georgia Water Supply Providers’ Cross-Motions for

Summary Judgment [Doc. 216, 218].

       SO ORDERED, this 11 day of August, 2021.



                                     /s/Thomas W. Thrash
                                     THOMAS W. THRASH, JR.
                                     United States District Judge




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                         APPENDIX A
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